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Personal Financial Statement of:
Paul Sharma

as of:

8/29/2018

Assets Amount in Dollars
Cash - checking accounts S ~
Cash - savings accounts -
Certificates of deposit -
Securities - stocks / bonds / mutual

funds -
Notes & contracts receivable -
Life insurance (cash surrender

value) -
Personal property (El Camino -

Model 78, Jet Ski, Boat) 4,500

Retirement Funds (eg. IRAs, 401k} ~
Real estate (market value) -

Other assets (specify) “
Other assets (specify) -

Total Assets $ 4,500
Liabilities Amount in Dollars '
Current Debt (Credit cards,

Accounts) S 29,100

Notes payable (describe below) -
Taxes payable

Real estate mortgages / -
Other liabilities (Hotel Lease

monthly) 6,005
Other liabilities (specify) -
Total Liabilities $ 35,105
Net Worth 5 (30,605)
Signatur Date:

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